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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 JULIAN MARCUS RAVEN,

                        Plaintiff,

                        v.                             Case No. 1:17-cv-01240 (TNM)

 KIM SAJET, Director, National Portrait
 Gallery, Smithsonian Institution, et al.,

                        Defendants.

                                     MEMORANDUM OPINION

       Artist Julian Raven brought this action against the United States and senior leaders of the

National Portrait Gallery over the Gallery’s refusal to exhibit his portrait of then-President-elect

Donald Trump. Mr. Raven claims that the decision was motivated by political bias, violating his

rights under the First and Fifth Amendments. He may be right about the motivation, but he is

wrong about the law. The First Amendment’s Free Speech Clause does not limit the Gallery’s

art decisions, because it protects private speech, rather than curtailing government speech. Nor

does the Fifth Amendment apply, as Mr. Raven has no legal right to the Gallery’s consideration.

       Mr. Raven also seeks to amend his complaint by adding claims under the Federal Tort

Claims Act, but the Defendants have committed no cognizable tort, even viewing the allegations

in the light most favorable to Mr. Raven. Without expressing any opinion about whether the

Defendants’ decision was right or good, the Court finds that Mr. Raven has not articulated a

plausible violation of the Constitution, or the Federal Tort Claims Act. So the Defendants’

Renewed Motion to Dismiss will be granted, and Mr. Raven’s Motion for Leave to Amend will

be denied.




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                                                 I.

       In his last will and testament, James Smithson “bequeath[ed]” a large sum of money “to

the United States of America, to found at Washington, under the name of the Smithsonian

Institution, an Establishment for the increase and diffusion of knowledge among men.”

Smithsonian Institution Archives, Last Will and Testament, October 23, 1826,

https://siarchives.si.edu/history/featured-topics/stories/last-will-and-testament-october-23-1826;

O’Rourke v. Smithsonian Inst. Press, 399 F.3d 113, 117 (2d Cir. 2005). Congress accepted the

money, see David P. Currie, The Smithsonian, 70 U. Chi. L. Rev. 65 (2003), incorporating the

Smithsonian Institution by federal statute as “an establishment . . . for the increase and diffusion

of knowledge among men.” 20 U.S.C. § 41. A Board of Regents composed of the Vice

President, the Chief Justice of the United States, Members of Congress, and others oversees the

Smithsonian. Id. § 42.

       The National Portrait Gallery is a bureau of the Smithsonian. 20 U.S.C. § 75b(a). It

operates “as a free public museum for the exhibition and study of portraiture and statuary

depicting men and women who have made significant contributions to the history, development,

and culture of the people of the United States and of the artists who created such portraiture and

statuary.” 20 U.S.C. § 75b(b). The Board of Regents “is authorized to accept . . . gifts of any

property for the benefit of the Gallery.” 20 U.S.C. § 75d(a).

               The Board may purchase, accept, borrow, or otherwise acquire
               portraiture, statuary, and other items for preservation, exhibition, or
               study. The Board may acquire any such item on the basis of its
               general historical interest, its artistic merit, or the historical
               significance of the individual to which it relates, or any combination
               of any such factors . . . [and] display, loan, store, or otherwise hold
               any such item.
20 U.S.C. § 75(e).



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       In 2015, Mr. Raven “painted the Donald Trump portrait/painting ‘Unafraid and

Unashamed.’” Am. Compl., ECF No. 16, at 10. According to Mr. Raven, “[t]he nearly 8x16

foot painting . . . became the most recognized pro-Trump political portrait/painting during the

2015-2016 campaign.” Id. at 22. After President Trump won the November 2016 election, Mr.

Raven sought to have the portrait displayed at the Gallery “as part of the festivities for the 2017

Inauguration.” Id. at 23. Mr. Raven sent an application—over 20 pages in length, id. at 25—by

email to the Rockwell Museum, an affiliate of the Smithsonian in Corning, New York. Id. at 23-

24. After what Mr. Raven felt was a cold initial meeting, the Rockwell Museum informed him

by return email “that the Rockwell Museum was unable to help since [it] did not have the

‘resources’” to do so. Id. at 23-24.

       Mr. Raven “subsequently . . . file[d] an official complaint with the Smithsonian Director

of Affiliations Harold Closter” for what Mr. Raven considered the Rockwall Museum’s “anti-

conservative, anti-Trump bias and for failing to simply assist [him] in submitting his application

to the [National Portrait Gallery].” Id. at 24. The complaint provided a copy of Mr. Raven’s

application, and Director Closter forwarded the application to the Gallery at Mr. Raven’s request.

Id.

       In December 2016, Mr. Raven called and left a message for Kim Sajet, the Gallery’s

Director, to ask about the application. Id. at 25. Director Sajet returned Plaintiff’s call,

beginning what Mr. Raven described as “an eleven minute dialogue and at times argument”

during which Director Sajet allegedly stated “her partial, dishonest, arbitrary and personal anti-

Trump ‘objections’ as to why the . . . Gallery would not even consider plaintiff’s painting for the

application process[.]” Id. at 26. Director Sajet’s “objections ranged from its size being ‘too

big[,]’ to partially and incorrectly citing a[] [National Portrait Gallery] standard for acceptance,”



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to her claims that the painting was “too ‘Pro-Trump,’” “[t]oo [p]olitical,” “not neutral enough,”

and “no good.” Id.; see generally id. at 26-38. In Mr. Raven’s view, “[t]he [p]ainting was

refused even before given a fair and objective consideration according to Smithsonian Institution

standards.” Id. at 26. Director Sajet’s “final words” to him allegedly were, “I am the Director of

the National Portrait Gallery, and this application will go no further, you can appeal my decision

all you want.” Id. at 42.

       Mr. Raven then sent a “letter of ‘appeal’” to the Board of Regents. Id. at 46; see Pl.’s

Opp. to Defs.’ Mot. to Dismiss (Opp.), ECF No. 38 at 84-87 (page numbers designated by ECF).

Two days later, Richard Kurin, then Acting Provost of the Smithsonian and Under Secretary for

Museums and Research, responded:

               Consistent with recent tradition, the Gallery has long planned to
               hang a portrait of the President-elect before his Inauguration. A
               portrait of Mr. Trump from the National Portrait Gallery’s collection
               will be on display at the Gallery beginning January 13, 2017.

               The decision about whether to acquire or display a work of art at the
               National Portrait Gallery rests in the first instance with that
               museum’s director, curators and historians. I have spoken with Kim
               Sajet, director of the National Portrait Gallery, and concur with her
               decision to decline your offer and continue with the museum’s plan
               to display a portrait of Mr. Trump from our collections.
Pl.’s Opp’n, ECF No. 38 at 89. By concurring with Director Sajet’s decision, Mr. Raven

contends, Mr. Kurin “made himself accountable and jointly liable for her actions as if they were

his own.” Am. Compl. at 48.

       Mr. Raven brings this action against Director Sajet and Mr. Kurin in their personal

capacities, under the Supreme Court’s decision in Bivens v. Six Unknown Named Agents of Fed.

Bureau of Narcotics, 403 U.S. 388 (1971). See Am. Compl. 10-11. He alleges that the

individual Defendants violated his First and Fifth Amendment rights, id. at 11, 38-44, and seeks

declaratory judgment, injunctive relief, and monetary damages. See id. at 55-60. The Amended

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Complaint also had claims under the Federal Tort Claims Act (FTCA)—against the United

States and the Smithsonian’s leaders in their official capacity 1—but Mr. Raven withdrew those

claims without prejudice after he learned that administrative exhaustion was required. Mot.

Withdraw FTCA Claims, ECF No. 24; Minute Order of Dec. 22, 2017. Once the Smithsonian’s

General Counsel issued a final denial of the FTCA claims, ECF No. 47 at 7, Mr. Raven sought

leave to amend his complaint and reinstitute that cause of action. Opposed Mot. for Leave to

Amend (Mot. Amend), ECF No. 47.

       All Defendants moved to dismiss the constitutional claims. Renewed Mot. Dismiss (Mot.

Dismiss), ECF No. 33. The Defendants also oppose Mr. Raven’s motion to amend his

complaint, arguing that amendment would be futile. ECF No. 50.

                                                 II.

       A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) “tests the legal

sufficiency of a complaint.” Browning v. Clinton, 292 F.3d 235, 242 (D.C. Cir. 2002). To avoid

dismissal, “a complaint must contain sufficient factual matter, accepted as true, to state a claim to

relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal

quotation omitted). “A claim crosses from conceivable to plausible when it contains factual

allegations that, if proved, would allow the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Banneker Ventures, LLC v. Graham, 798 F.3d




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  The full list of defendants is long. See Am. Compl. at 71-72, 74 (naming the United States,
“all of the defendants in their official capacities,” and “[t]he remaining defendants, Chief Curator
Brandon Brame Fortune, Chief Smithsonian Spokesperson Linda St. Thomas[,] the Board Of
Regents members[,] and the U.S. Congress represented by Congressman Roy Blunt[,] in their
official capacity as federal officers[,] employees of a federal government instrumentality, Trust
‘Legatees’ and Co-Trustees, fiduciary delegates, [and] functional fiduciaries of the private and
individual Will and Trust Of Mr. James Smithson.”
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1119, 1129 (D.C. Cir. 2015) (cleaned up). A court must “draw all reasonable inferences from

those allegations in the plaintiff’s favor,” but not “assume the truth of legal conclusions.” Id.

        “In determining whether a complaint fails to state a claim, [a court] may consider only

the facts alleged in the complaint, any documents either attached to or incorporated in the

complaint and matters of which [a court] may take judicial notice.” EEOC v. St. Francis Xavier

Parochial Sch., 117 F.3d 621, 624 (D.C. Cir. 1997). This is “a context-specific task that requires

the reviewing court to draw on its judicial experience and common sense.” Iqbal, 556 U.S. at

679.

        Because Mr. Raven is pro se, his complaint must be “liberally construed” and “held to

less stringent standards than formal pleadings drafted by lawyers.” Erickson v. Pardus, 551 U.S.

89, 94 (2007). Courts may “consider supplemental material . . . to clarify the precise claims

being urged,” Greenhill v. Spellings, 482 F.3d 569, 572 (D.C. Cir. 2007), “including filings

responsive to a motion to dismiss.” Brown v. Whole Foods Mkt. Grp., Inc., 789 F.3d 146, 152

(D.C. Cir. 2015). Yet the ultimate standard remains the same. The plaintiff “must plead ‘factual

matter’ that permits the court to infer ‘more than the mere possibility of misconduct.’” Atherton

v. Dist. of Col. Office of Mayor, 567 F.3d 672, 681-82 (D.C. Cir. 2009) (quoting Iqbal, 556 U.S.

at 679). 2

                                                III.

                                                 A.
        At the outset, the Defendants argue that this case is moot, at least as to Mr. Raven’s

request for injunctive relief. Mot. Dismiss 28. The Constitution limits federal jurisdiction to



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  Given these generous standards, the Court will grant Mr. Raven’s Motion for Leave to File a
Surreply, ECF No. 42, despite the Defendants’ opposition, ECF No. 43, considering the brief
attached to that motion, ECF No. 42-1(Surreply), as though it had been separately filed.

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“actual, ongoing controversies,” Am. Bar Ass’n v. FTC, 636 F.3d 641, 645 (D.C. Cir. 2011), and

the Defendants point out that Mr. Raven wanted the Gallery to display the portrait for the 2017

Inauguration, which is now past. But Mr. Raven is asking for more. His later filings clarify that

he wants the Gallery to hang the portrait “at any time,” as “a record of history.” Opp. 20. He

observes that Donald Trump is still President, and he suggests hanging the portrait in November

2018, January 2019, or January 2020. Id. Given the obligation to construe Mr. Raven’s filings

liberally, Brown, 789 F.3d at 152, the Court finds that this request presents an ongoing

controversy and is not moot. 3

       That said, Mr. Raven’s constitutional claims fail as a matter of law. Because the

Smithsonian is a government entity and the Gallery’s art selection decisions constitute

government speech, the First Amendment does not limit the Gallery’s ability to say what it wants

to say. And the Fifth Amendment has no application either, for reasons explained below.

       Despite Mr. Raven’s arguments to the contrary, the Smithsonian is a government entity.

In Crowley v. Smithsonian Inst., the D.C. Circuit repeatedly referred to the Smithsonian as

“government” for First Amendment purposes, rejecting an Establishment Clause challenge to

two exhibitions on evolution. 636 F.2d 738, 744 (D.C. Cir. 1980). The Smithsonian is an

“independent establishment of the United States,” and thus a “federal agency” under the Federal

Tort Claims Act. Expeditions Unlimited Aquatic Enterprises, Inc. v. Smithsonian Inst., 566 F.2d

289, 296 (D.C. Cir. 1977) (citing 28 U.S.C. § 2671). The court reasoned: “[a]lthough the

Smithsonian has a substantial private dimension . . . the nature of its function as a national

museum and center of scholarship, coupled with the substantial governmental role in funding and



3
 The Court has jurisdiction over the case generally, since it raises questions of federal law. 28
U.S.C. § 1331.

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oversight, make the institution an ‘independent establishment of the United States,’ within the

‘federal agency’ definition.” Id. The Second Circuit reached a similar conclusion in O'Rourke,

399 F.3d at 122 (“We conclude that the Smithsonian is within the term “the United States” in 28

U.S.C. § 1498(b).”).

       To be sure, the Smithsonian is no typical federal agency. Its unusual origins, combined

with the fact that it has leadership from all three branches of government, means that “the

Smithsonian lacks both the ‘authority’ necessary for it to qualify as an “authority of the

government of the United States” under [5 U.S.C.] § 551(1) [Administrative Procedure Act] and

the executive department status necessary under [5 U.S.C.] § 552(f) [Freedom of Information

Act].” Dong v. Smithsonian Inst., 125 F.3d 877, 883 (D.C. Cir. 1997). But that does not alter

the Smithsonian’s government status for constitutional purposes.

       Consider the case of another odd federal bird, Amtrak. In Lebron v. Nat’l R.R. Passenger

Corp., the Supreme Court held that Amtrak was a part of the government “for purposes of the

First Amendment.” 513 U.S. 374, 394 (1995). LeBron noted that Congress had expressly

exempted Amtrak from federal “agency” status in its charter, which provided immunity from the

Administrative Procedure Act, id. at 392, just like the Smithsonian. See Dong, 125 F.3d at 883.

But the Court reasoned:

               If Amtrak is, by its very nature, what the Constitution regards as the
               Government, congressional pronouncement that it is not such can no
               more relieve it of its First Amendment restrictions than a similar
               pronouncement could exempt the Federal Bureau of Investigation
               from the Fourth Amendment. The Constitution constrains
               governmental action “by whatever instruments or in whatever
               modes that action may be taken.” Ex parte Virginia, 100 U.S. 339,
               346–347 (1880).

Lebron, 513 U.S. at 392. LeBron went on to conclude that “where, as here, the Government

creates a corporation by special law, for the furtherance of governmental objectives, and retains

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for itself permanent authority to appoint a majority of the directors of that corporation, the

corporation is part of the Government for purposes of the First Amendment.” Id. at 399.

Although the Smithsonian is not a corporation, the salient factors considered in LeBron lead to a

similar conclusion here.

       Mr. Raven seizes on the fact that Amtrak was created for governmental purposes, arguing

that the Smithsonian, by contrast, is a trust that must seek “the increase and diffusion of

knowledge,” not whatever objectives the government chooses. Opp. 5-6, 8-9; see also Dong,

125 F.3d at 881, 883 (noting that the Smithsonian was created “pursuant to a trust bequest,” and

“the United States, as trustee, holds legal title to the original Smithson trust property and later

accretions.”). But even if “the increase and diffusion of knowledge” was originally a private

goal, Congress ratified it, and the United States now has complete discretion in how to fulfill it.

In any event, LeBron relied more heavily on the federal government’s control over Amtrak’s

board than on its federal purposes. 513 U.S. at 397 (“That Government-created and -controlled

corporations are . . . part of the Government itself has a strong basis, not merely in past practice

and understanding, but in reason itself.”).

       Mr. Raven also argues that entities in other government speech cases have been more

classic manifestations of government authority—municipal governments in People for the

Ethical Treatment of Animals, Inc. v. Gittens (PETA), 414 F.3d 23, 28 (D.C. Cir. 2005), and in

Pleasant Grove City, Utah v. Summum, 555 U.S. 460 (2009), a state government in Walker v.

Texas Div., Sons of Confederate Veterans, Inc., 135 S. Ct. 2239 (2015), and Congress in Pulphus

v. Ayers, 249 F. Supp. 3d 238 (D.D.C. 2017). Opp. at 6. Traditional government actors are

subject to political restraints, Mr. Raven points out, echoing the Supreme Court’s observation

that “a government entity is ultimately ‘accountable to the electorate and the political process for



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its advocacy.’” Summum, 555 U.S. at 468 (citation omitted). In contrast, Mr. Raven argues, the

Smithsonian’s “trustees and their assistants do not qualify for ‘Gov. Speech’ powers . . . since

they cannot be voted out!” Opp. 7.

       It is true that the Smithsonian, Cerberus-like, sports heads from the Executive,

Legislative, and Judicial Branches. 20 U.S.C. § 42. But political accountability persists. Of the

eight Regents who serve because of their federal office, voters could defenestrate seven: “the

Vice President . . . three Members of the Senate, [and] three Members of the House of

Representatives.” Id. The nine remaining Regents are appointed by politically-accountable

representatives in Congress. Id. § 43. These Regents are empowered to control the “business of

the Institution.” Id. § 42. In sum, despite its philanthropic mien, the Smithsonian is a

government institution through and through. With substantial federal funding, federally-

approved leadership, and creation through private gift and federal charter, the Smithsonian is part

of the United States government for purposes of the First Amendment. See Crowley, 636 F.2d at

744.

       That conclusion brings us close to deciding Mr. Raven’s speech claim, because when the

government speaks, the First Amendment’s Free Speech Clause does not limit what it says.

Summum, 555 U.S. at 467. And government speech includes decisions about what pieces of art

it will patronize and display. PETA, 414 F.3d at 28.

       In PETA, the District of Columbia’s Commission on the Arts and Humanities created a

“Party Animals” art program, under which artists could submit “creative, humorous” designs for

standard size sculptures of elephants and donkeys. Id. at 25. The Commission would

temporarily install winning entries around the city, to display a “whimsical and imaginative side

of the Nation’s Capital.” Id. In addition to general submissions, the Commission also allowed



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submissions from individuals and organizations who paid $5,000, while reserving ultimate

“design approval.” Id. at 26. PETA sent in a $5,000 check and submitted several successive

elephant designs alleging animal abuse in the circus. The Commission rejected each design,

calling them “political billboard[s], not art,” and “not an artistic expression consistent with the

goals, spirit and theme of the art project.” Id. PETA challenged the rejection as a government

restriction on free speech.

       The D.C. Circuit rejected that argument. Reasoning that “[t]he First Amendment’s Free

Speech Clause does not limit the government as speaker,” the court explained that the

government’s decision to select specific art designs constituted government speech. Id. at 28.

The court held that public forum analysis and the judicial scrutiny that comes with it do not

apply to “the government’s role as patron of the arts,” id. at 29, where the government is forced

to “make esthetic judgments” that courts should not police. Id. at 29 (quoting Nat’l Endowment

for the Arts v. Finley, 524 U.S. 569, 586 (1998)). “The curator of a stateowned museum, for

example, may decide to display only busts of Union Army generals of the Civil War, or the

curator may decide to exhibit only busts of Confederate generals. The First Amendment has

nothing to do with such choices.” Id. at 28.

       “There may be situations in which it is difficult to tell whether a government entity is

speaking on its own behalf or is providing a forum for private speech.” Summum, 555 U.S. at

470. In determining whether to apply public forum analysis or the government speech doctrine,

the Supreme Court has looked to “(1) whether the medium at issue has historically been used to

communicate messages from the government; (2) whether the public reasonably interprets the

government to be the speaker; and (3) whether the government maintains editorial control over




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the speech.” Pulphus, 249 F. Supp. 3d at 247 (citing Walker, 135 S. Ct. at 2247–49; Summum,

555 U.S. at 470–72).

       The D.C. Circuit’s decision in PETA ably anticipated the test that the Supreme Court

applied in Walker and Summum. In PETA, the court carefully parsed what constituted

government speech, before rejecting a public forum analysis.

                As to the message any elephant or donkey conveyed, this was no
                more the government’s speech than are the thoughts contained in the
                books of a city’s library. . . . Those who check out a Tolstoy or
                Dickens novel would not suppose that they will be reading a
                government message. But in the case of a public library, as in the
                case of the Party Animals exhibit, there is still government speech.
                With respect to the public library, the government speaks through
                its selection of which books to put on the shelves and which books
                to exclude. In the case before us, the Commission spoke when it
                determined which elephant and donkey models to include in the
                exhibition and which not to include. In using its ‘editorial discretion
                in the selection and presentation of’ the elephants and donkeys, the
                Commission thus ‘engage[d] in speech activity’; ‘compilation of the
                speech of third parties’ is a communicative act.

PETA, 414 F.3d at 28 (quoting Arkansas Educ. Television Comm’n v. Forbes, 523 U.S. 666, 674

(1998)).

       A judge in this District recently applied the same logic to reject a similar challenge. In

Pulphus, a young artist and his Congressman brought a First Amendment suit over the Architect

of the Capitol’s decision to remove his painting from the walls of the Capitol. 249 F. Supp. 3d at

240. The painting had been selected through the Congressional Art Competition before an

outcry arose over the painting’s controversial content, and the Architect subsequently removed it.

Id. at 241-44. Applying the Supreme Court’s analysis from Walker and Summum and the D.C.

Circuit’s logic in PETA, Judge Bates concluded that “the art competition and the display . . .

constitutes government speech.” Id. at 253. Because the government was “‘using its editorial

discretion in the selection and presentation of” the art submitted as part of the competition,” id.

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(quoting PETA, 414 F.3d at 28), the plaintiffs had “no First Amendment rights at issue.” Id. at

254.

        A similar analysis applies here. First, the National Portrait Gallery has historically

communicated messages from the government, in the sense that it compiles the artwork of third

parties for display on government property. See 20 U.S.C. § 75b(a). Second, the public would

reasonably interpret the government to be the speaker, in that it selects specific art for display.

Selected artists certainly have a voice in the Gallery, but the government’s selection itself

conveys a government message: the government considers the artist’s work to be worthy of

public display and consideration. PETA, 414 F.3d at 28; see also Pulphus, 249 F. Supp. 3d at

249 (“the public would reasonably associate the art competition, and the art displayed . . . with

the government[.] . . . Art displayed on public property is often treated as being endorsed by the

government or representative of the government’s views”). Finally, the Smithsonian’s Board of

Regents and its subordinates maintain editorial control over the speech. The Board has

expansive authority to accept a portrait “on the basis of its general historical interest, its artistic

merit, or the historical significance of the individual to which it relates, or any combination of

any such factors.” 20 U.S.C. § 75e(1).

        This analysis is fatal to Mr. Raven’s First Amendment claim. In asking the Gallery to

display his portrait, Mr. Raven was asking a component of the federal government to take a

“communicative act” by adding his work to its compilation of art created by third parties. PETA,

414 F.3d at 28. In other words, he asked for a form of government speech. When the Gallery

rejected his submission, it acted as a federal patron of the arts, declining to include the portrait as

part of a government-sponsored exhibit. “The First Amendment has nothing to do with such

choices.” Id.



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       Mr. Raven objects, arguing that Director Sajet’s reasons for rejecting his painting (“too

big,” “not from life,” and “too Pro-Trump”) were arbitrary, pretextual, and unfair, betraying a

political bias against President Trump and his supporters. At the motion to dismiss stage, the

Court accepts these well-plead allegations as true. Iqbal, 556 U.S. at 678. That said, the Free

Speech Clause places no limitations on the content of government speech. Even political

discrimination is allowed when the government chooses to sponsor speech. PETA, 414 F.3d at

30 (“we can see no First Amendment problem with the Commission making arbitrary or

viewpoint-based decisions about which donkeys and elephants it wanted in its parade. No one

could plausibly argue that an Inauguration Parade has to have balance, or that the losing

Presidential candidate must—if he requests—be allowed to have a float of his own.”). And even

though Mr. Raven considers the Gallery’s motivations to be inappropriate, particularly on the

occasion of President Trump’s inauguration, the First Amendment simply does not apply to

government art selections, no matter how arbitrary. Id. at 30 (“[E]sthetic judgments . . . often

may appear to be arbitrary, and sometimes are.”). For these reasons, Mr. Raven’s First

Amendment claim must be dismissed. 4

                                                B.

       Mr. Raven’s claims under the Fifth Amendment fare no better. He asserts violations of

its Due Process and Equal Protection Clauses.




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  Many of Mr. Raven’s arguments seem to rely not on the Constitution but on the language in
Mr. Smithson’s will, the statutes governing the Smithsonian, or the Smithsonian’s public
explanations of portrait acceptance standards. Even if the Court generously construes these
arguments as a separate, non-constitutional claim for relief, Mr. Raven has not stated a claim
upon which relief can be granted. In theory, the government’s speech “may be limited by law,
regulation, or practice,” Summum, 555 U.S. at 468, but the Gallery has what amounts to
complete discretion, as a legal matter, to decide which paintings to accept and which to reject.
20 U.S.C. §§ 41, 75(e), 75b, 75d.
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        “The first inquiry in every due process challenge is whether the plaintiff has been

deprived of a protected interest in ‘liberty’ or ‘property.’” NB ex rel. Peacock v. District of

Columbia, 794 F.3d 31, 41 (D.C. Cir. 2015) (citation omitted). If no protected interest exists, no

due process claim exists. Id. “To have a protected property interest in a given benefit, ‘a person

clearly must have more than an abstract need or desire for it. He must have more than a

unilateral expectation of it. He must, instead, have a legitimate claim of entitlement to it.’” Id.

(quoting Bd. of Regents of State Colls. v. Roth, 408 U.S. 564, 577 (1972)). “[A] benefit is not a

protected entitlement if government officials may grant or deny it in their discretion.” Town of

Castle Rock, Colo. v. Gonzales, 545 U.S. 748, 756 (2005).

        Under the due process rubric, Mr. Raven argues that he had a constitutionally protected

property right to apply for his portrait’s acceptance, which the Smithsonian violated by

subjecting him to an unfair, biased process. See, e.g., Am. Compl. 15-16. But Mr. Raven was

not legally entitled to a fair hearing for his application. The Gallery has what amounts to

complete discretion in choosing portraits. 20 U.S.C. § 75(e) (“The Board may acquire any such

item on the basis of its general historical interest, its artistic merit, or the historical significance

of the individual to which it relates, or any combination of any such factors.”). Contrary to Mr.

Raven’s arguments, Am. Compl. 38-39, the Smithsonian’s broad calling to increase and spread

knowledge, and its general standards for accepting items, confer no particular rights on those

who wish to participate. 20 U.S.C. § 75(e); Town of Castle Rock, Colo., 545 U.S. at 756. In its

discretion, the Gallery could have simply informed Mr. Raven that it was not interested in his

portrait, or even done nothing at all. With no protected constitutional right at stake, Mr. Raven’s

Due Process claim fails. Cf. Pulphus, 249 F. Supp. 3d at 254 (“the argument that the competition




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rules are void for vagueness because they may chill plaintiffs’ protected speech depends on

plaintiffs having speech rights to chill, which the Court has already determined is not the case.”).

        Mr. Raven also invokes “the equal protection component of the Fifth Amendment’s Due

Process Clause.” Am. Compl. 13 (quoting Davis v. Passman, 442 U.S. 228, 235 (1979)); see

Schweiker v. Wilson, 450 U.S. 221, 227 n.6. (1981) (“[T]he Fifth Amendment imposes on the

Federal Government the same standard required of state legislation by the Equal Protection

Clause of the Fourteenth Amendment.”). He argues that the Defendants arbitrarily deprived him

of a fair hearing and rejected his work, Am. Compl. 13, while accepting other comparable art

pieces celebrating President Obama, for example. Id. at 28-29. It is possible to bring a “class of

one” equal protection claim, “where the plaintiff alleges that she has been intentionally treated

differently from others similarly situated and that there is no rational basis for the difference in

treatment.” Vill. of Willowbrook v. Olech, 528 U.S. 562, 564 (2000). “[T]he purpose of the

equal protection clause . . . is to secure every person . . . against intentional and arbitrary

discrimination.” Id. (quoting Sioux City Bridge Co. v. Dakota Cty., Neb., 260 U.S. 441, 445

(1923)) (brackets omitted).

        But in the narrow context of this case—where the government may make esthetic choices

that may seem arbitrary, PETA, 414 F.3d at 30—such principles have no application. After all,

the relevant constitutional language forbids that the Government “deny to any person within its

jurisdiction the equal protection of the laws.” U.S. Const. am. XIV (emphasis added). And the

Gallery has no legal constraints on its ability to consider or select particular portraits. The most

relevant statute suggests that the Board of Regents “may acquire any such item on the basis of its

general historical interest, its artistic merit, or the historical significance of the individual to

which it relates, or any combination of any such factors.” 20 U.S.C. § 75(e) (emphasis added).



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“May” is a permissive term. The law does not require the Board to acquire (or even consider)

any particular portrait, regardless of its historical interest, artistic merit, or cultural significance. 5

With no legal protections for art applications, equal protection cannot be enforced.

                                                    C.

        Even if Mr. Raven had successfully stated a violation of the First or Fifth Amendment,

his claims for damages under Bivens v. Six Unknown Fed. Narcotics Agents, 403 U.S. 388

(1971), would still be dismissed. Qualified immunity protects government officials from civil

liability for constitutional violations unless they violate “clearly established statutory or

constitutional rights of which a reasonable person would have known.” Harlow v. Fitzgerald,

457 U.S. 800, 818 (1982). Since the Free Speech Clause does not apply to government art

decisions like this one, and no Fifth Amendment rights are at issue, the Defendants did not

violate “clearly established” constitutional law, for all the reasons given above.

        In any case, damages for constitutional violations are rare and not appropriate here.

“[T]he Supreme Court has not authorized a suit for damages based on the First Amendment and

warns that extending such remedies to new contexts is ‘a disfavored judicial activity.’” Storms v.

Shinseki, 319 F. Supp. 3d 348, 351 (D.D.C. 2018) (quoting Ziglar v. Abbasi, 137 S. Ct. 1843,

1848 (2017)). Government art decisions would certainly be a new context, even for a Fifth

Amendment Bivens claim. And the Judicial Branch’s lack of expertise in deciding what

constitutes a “rational” art decision (among other factors), counsels strongly against creating a

new damages remedy here. If such a remedy should exist, it is the role of Congress to create it.




5
 This fact refutes Mr. Raven’s argument that he was deprived of “the right to appeal” when Mr.
Kurin allegedly ignored the fact that his letter to the Board of Regents was an “appeal.” Am.
Compl. 13, 46-47. Even if Mr. Kurin’s letter could be so construed, no law conferred upon Mr.
Raven appeal rights.
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                                                  D.

       Finally, Mr. Raven filed a Motion to Amend, which would reinstate his claims under the

Federal Tort Claims Act. The Defendants argue that this amendment would be legally futile and

should therefore be denied. Opp. Mot. Amend; James Madison Ltd. v. Ludwig, 82 F.3d 1085,

1099 (D.C. Cir. 1996) (“Courts may deny a motion to amend a complaint as futile . . . if the

proposed claim would not survive a motion to dismiss.”). The Court agrees.

       Under the FTCA, the United States has waived sovereign immunity only for claims:

               [1] against the United States, [2] for money damages . . . [3] for
               injury or loss of property, or personal injury or death [4] caused by
               the negligent or wrongful act or omission of any employee of the
               Government [5] while acting within the scope of his office or
               employment, [6] under circumstances where the United States, if a
               private person, would be liable to the claimant in accordance with
               the law of the place where the act or omission occurred.

FDIC v. Meyer, 510 U.S. 471, 477 (1994) (quoting 28 U.S.C. § 1346(b)). Under the law of the

place where the Defendants’ actions occurred—the District of Columbia—Mr. Raven’s tort

claims do not survive.

       Mr. Raven’s most prominent tort claim is for breach of fiduciary duty. See, e.g., Am.

Compl. 91; see Beckman v. Farmer, 579 A.2d 618, 655 (D.C. 1990) (recognizing the tort under

District of Columbia law). He argues that the Smithsonian is a trust, since it was created by the

will of James Smithson “for the increase and diffusion of knowledge,” and that as a trust

beneficiary, he is entitled to fair treatment. Am. Compl. 92-93. It is true that the Smithsonian

acts as a “trustee,” in that it administers “the original Smithson trust property and later

accretions.” Dong, 125 F.3d at 883. But as explained above, the Smithsonian’s management has

complete, unfettered discretion to determine how best to pursue “the increase and diffusion of




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knowledge among men,” 20 U.S.C. § 41, at least when it comes to the selection of art for the

Gallery. 20 U.S.C. § 75(e).

        Mr. Raven also claims that the Defendants negligently inflicted emotional distress on

him. Am. Compl. 114-15. But as the Defendants point out, the bar for that tort is high indeed.

                “Under District of Columbia law, a plaintiff may make out a claim
                for negligent infliction of emotional distress in one of two ways.”
                Clark v. District of Columbia, 241 F.Supp.3d 24, 30 (D.D.C. 2017).
                The first method is to satisfy the standards for the “zone of physical
                danger test” and show that “serious” and “verifiable” mental distress
                occurred because the defendant’s actions caused the plaintiff to be
                “in danger of physical injury,” and as a result the plaintiff “feared
                for his own safety.” Hedgepeth v. Whitman Walker Clinic, 22 A.3d
                789, 798 (D.C. 2011) (quoting Williams v. Baker, 572 A.2d 1062,
                1066 (D.C. 1990)). Alternatively, a plaintiff may “show that (1) the
                defendant has a relationship with the plaintiff, or has undertaken an
                obligation to the plaintiff, of a nature that necessarily implicates the
                plaintiff's emotional well-being, (2) there is an especially likely risk
                that the defendant’s negligence would cause serious emotional
                distress to the plaintiff, and (3) negligent actions or omissions of the
                defendant in breach of that obligation have, in fact, caused serious
                emotional distress to the plaintiff.” Id. at 810–11.

Kowalevicz v. United States, 302 F. Supp. 3d 68, 78 (D.D.C. 2018). Mr. Raven cannot satisfy

either standard. The rejection of his painting did not put him in a “zone of physical danger,” and

his relationship with the Defendants was not of the sort “that necessarily implicates [his]

emotional well-being.” See id. Although artists may be “highly sensitive,” Am. Compl. 56, and

Mr. Raven credibly asserts that this was “the most important work in [his] career,” id. 56-57, the

gatekeepers of the Gallery have no obligation to steward the emotional health of artists.

        And even if Mr. Raven contends that the Defendants intentionally inflicted his emotional

distress (a separate tort), that claim fails as well:

                In the District of Columbia, a prima facie showing of intentional
                infliction of emotional distress requires “(1) extreme and outrageous
                conduct on the part of the defendant which (2) intentionally or
                recklessly (3) causes the plaintiff severe emotional distress.” Sere

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               v. Group Hospitalization, Inc., 443 A.2d 33, 37 (D.C. 1982)
               (internal quotation marks omitted). To meet the first prong, the
               conduct must be “so outrageous in character, and so extreme in
               degree, as to go beyond all possible bounds of decency, and to be
               regarded as atrocious, and utterly intolerable in a civilized
               community.” Id. . . . Liability will not ensue for “mere insults,
               indignities, threats, annoyances, petty oppressions, or other
               trivialities.” Homan v. Goyal, 711 A.2d 812, 818 (D.C. 1998).

North v. Catholic Univ. of Am., 310 F. Supp. 3d 89, 94–95 (D.D.C. 2018). Even accepting the

worst possible reading of the Defendants’ alleged actions, what they did amounted to a

professional insult, though partisan and undeserved, against Mr. Raven and his work. Odious

they may be, but insults of this kind are not actionable torts under District of Columbia law. No

impartial jury could conclude that the Defendant’s politically-biased rejection was “so

outrageous in character, and so extreme in degree, as to go beyond all possible bounds of

decency, and to be regarded as atrocious, and utterly intolerable in a civilized community.” Id.

For these reasons, Mr. Raven’s Motion to Amend must be denied as futile.

                                               IV.


       For these reasons, the Court will grant the Defendants’ Motion to Dismiss and deny Mr.

Raven’s Motion for Leave to Amend. A separate order will issue.


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Dated: September 19, 2018                            TREVOR N. MCFADDEN, U.S.D.J.




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